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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

 AMERICAN CLOTHING EXPRESS, INC.,            Case No. 2:20-cv-02007-SHM-dkv
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,

 Plaintiffs,

 v.

 CLOUDFLARE, INC. and DOES 1 - 200,
 inclusive,

 Defendants.


 CLOUDFLARE, INC.

 Counterclaimant,

 v.

 AMERICAN CLOTHING EXPRESS, INC.,
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,

 Counterdefendants.



      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS/COUNTER-
 DEFENDANTS’ MOTION TO DISMISS THE AMENDED COUNTERCLAIMS FILED
        BY DEFENDANT/COUNTER-PLAINTIFF CLOUDFLARE, INC.
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       Plaintiffs-Counterdefendants American Clothing Express, Inc. d/b/a Allure Bridals

(“Allure”) and Justin Alexander, Inc. (“Justin,” combined with Allure, “Plaintiffs”) file this

memorandum of law in support of their motion pursuant to Fed. R. Civ. P. Rule 12(b)(6) to dismiss

the Amended Counterclaims filed by Defendant-Counterclaimant Cloudflare, Inc. (“Cloudflare”).

                                       INTRODUCTION
       In response to Plaintiffs’ allegations of contributory copyright infringement, Cloudflare

has filed five counterclaims for declaratory relief. The first Counterclaim seeks a declaration that

Cloudflare did not commit the infringement alleged in the Plaintiffs’ underlying complaint. The

next four counterclaims carve out factual and legal issues from Cloudflare’s defenses to the

Complaint, and seek a declaration in its favor on those discrete aspects of the suit. Cloudflare

claims that this strategy is justified because of its need to address matters purportedly “artfully

omitted” from Plaintiffs’ complaint. Cloudflare’s inflammatory and untrue contentions are a pure

red-herring. Rather, Cloudflare’s counterclaims must be dismissed as a matter of law pursuant to

governing United States Supreme Court precedent, and controlling Sixth Circuit Court of Appeals

precedent, for the following reasons.

       First, the United States Supreme Court has held on several occasions that under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., a defendant is prohibited from seeking

declaratory relief “to obtain piecemeal adjudication of defenses that would not finally and

conclusively resolve the underlying controversy.” MedImmune, Inc. v. Genentech, Inc., 549 U.S.

118 n. 7 (2007); Cadleron v. Ashmus, 523 U.S. 740, 749 (1998). For example, several of

Cloudflare’s declaratory judgment counterclaims seek a declaration that Cloudflare complied with

the technical requirements to be eligible for certain safe harbors against an award of monetary

damages under the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. §512, or that

Plaintiffs’ notices of infringement were improper under the DMCA. Yet, Cloudflare’s Amended

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Counterclaims do not seek a declaration that it complied with the threshold requirement to be

eligible for any safe harbor protection of maintaining a reasonable policy for terminating repeat

infringers. See 17 U.S.C. §512(i). Thus, these counterclaims will not fully resolve the suit as the

parties will still need to litigate whether Cloudflare maintained and implemented a reasonable

policy for terminating repeat infringers, and whether Plaintiffs are entitled to injunctive relief

against Cloudflare.

       Second, Cloudflare’s counterclaims are fatally flawed to the extent that they seek

declaratory relief arising out of Plaintiff’s prior retention of an agent called XML Shop, LLC d/b/a

Counterfeit Technologies (“Counterfeit”) to send supposedly defective notifications of the

infringement to Cloudflare. Cloudflare amended its Counterclaims to correct its false statements

that Counterfeit was Plaintiffs’ sole agent and now admits that Plaintiffs replaced Counterfeit

several years ago with a new agent called Incopro, Ltd. (“Incopro”). A declaratory judgment action

cannot be interposed to adjudicate past conduct.

       Third, Cloudflare’s Amended Counterclaims still fail to articulate a basis for distinguishing

the Sixth Circuit precedent mandating the dismissal of declaratory judgment counterclaims which

are a mirror of the Plaintiff’s claim of infringement. Moreover, where, as is the case here, a

coercive complaint seeking an award of damages already has been filed, the declaratory judgment

counterclaims which present the identical factual and legal issues serve no useful purpose.

       Accordingly, for the reasons expanded upon below, this Court should dismiss Cloudflare’s

Amended Counterclaims.




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                                        BACKGROUND

    I.      THE PARTIES
            a. The Plaintiffs - Counterclaim Defendants
         Plaintiffs design and manufacture wedding and prom dresses (ACC ¶156). 1 Plaintiffs

display on their websites their copyrighted images of models wearing their dresses (“Plaintiffs’

Images”) (ACC ¶¶ 168-169).

            b. Cloudflare
         Cloudflare is a web performance and security company that provides a Content Delivery

Network (“CDN”), web content optimization, website security, denial of service protection, and a

managed domain name system network (“DNS”)(A ¶52). A CDN refers to a geographically

distributed group of servers which work together to provide the fast delivery of Internet content

(A ¶2). Cloudflare’s marketing materials explain how Cloudflare’s CDN improves the speed of

the delivery of images from websites hosted in far-flung places to the United States (A ¶¶96-99).

         A CDN improves the latency of a website “by pulling static content files from the origin

server into the distributed CDN network in a process called caching” (A ¶54). Once the data is

cached, the CDN may serve the content to the customer from the closest CDN data center instead

of the origin server, which could be located thousands of miles away (A ¶¶53-54).

            c. The Infringing Website Defendants
         Plaintiffs allege that the Infringing Website Defendants misappropriate the Plaintiffs’

Images and post them, or slight alterations thereof, on websites hosted in foreign jurisdiction for

the purpose of selling cheap imitations of Plaintiffs’ gowns through the internet (CMP ¶46-51).

Each of the Infringing Websites are optimized by Cloudflare’s services (CMP ¶5). Plaintiffs do


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  “CC” followed by “¶” refers to paragraphs of the Counterclaims; “ACC” followed by “¶” refers
to paragraphs of the Amended Counterclaims; “A” followed by ¶ refers to paragraphs of the
Answer and “CMP” followed by ¶ refers to paragraphs of the Complaint.
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not know the identities of the Infringing Website Defendants, who manufacture the knock-off

dresses, and operate the Infringing Websites at issue (CMP ¶20).

   II.      THE PLEADINGS
            a. THE COMPLAINT
         Plaintiff wedding and prom dress manufacturers filed suit against Cloudflare claiming that

Cloudflare’s content delivery network (“CDN”) and domain name services (“DNS”) materially

aid counterfeiters (“Infringing Website Defendants”) engaged in the systematic misappropriation

of Plaintiffs’ product images to display infringing copies of them on websites used to sell knock-

off dresses (“Infringing Websites”).      Plaintiffs contend that Cloudflare materially aids the

infringement by speeding up the delivery of the images from the Infringing Websites hosted

thousands of miles away to internet users in the United States. When Cloudflare receives

notifications that certain subscribers are repeatedly transmitting specific infringing material

through its network, Cloudflare simply passes on the notice of infringement to the infringer, and

the company hosting the infringement, even when Cloudflare knows that these parties will not

respect copyrights.

         Plaintiffs allege that Cloudflare materially contributes to the ongoing infringement

because: i) it knows of specific infringement due to its receipt of Plaintiffs’ complaints of

infringement; ii) it materially assisted that infringement by enabling the Infringing Website

Defendants to cache on Cloudflare’s domestic servers the Infringing Images and by significantly

speeding up the load-times of the Infringing Websites; and iii) it refused to take the simple measure

of terminating its service provided to the infringers.

         Specifically, Plaintiffs’ Complaint contains two claims for relief. The First Claim for

Relief consists of a claim of direct copyright infringement against the Infringing Website

Defendants. The Second Claim for Relief asserts a claim of contributory copyright infringement

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against Cloudflare. Plaintiffs’ Complaint describes: the Plaintiffs’ businesses and intellectual

property rights (CMP pp. 8-10); the illegal conduct of the Infringing Website Defendants (CMP

pp. 11-13); the technical operation of Cloudflare’s CDN and DNS service and how they materially

aid the direct infringement (CMP pp. 16-25); Plaintiffs’ efforts to notify Cloudflare of the ongoing

infringement (CMP pp. 27-29), including through providing side-by-side depictions of each

infringing image matched with the copyrighted image along with detailed spreadsheets identifying

the reports submitted to Cloudflare (Exhibits 3-5 to the Complaint) and Cloudflare’s deficient

procedures for responding to Plaintiffs’ complaints of infringement (CMP ¶¶ 107-115).

           b. CLOUDFLARE’S ANSWER TO THE COMPLAINT
       Cloudflare’ answer asserts seventeen affirmative defenses in a wholly conclusory fashion.

Ironically, Cloudflare claims that it filed its Counterclaims for the salutary purpose of amplifying

certain of its defenses to lead to an earlier resolution of this case. Cloudflare did not apply this

philosophy to its threadbare recital of the affirmative defenses set forth in its Amended Answer.

       Cloudflare’s first affirmative defense, that “the Complaint fails to state a cause of action

against Cloudflare,” is redundant of Cloudflare’s counterclaims seeking a declaration of non-

infringement. Additionally, Cloudflare’s third affirmative defense, asserting that the DMCA’s

safe harbors limit Plaintiffs’ remedies is duplicative of Cloudflare’s counterclaims seeking a

declaration of its entitlement to the same safe harbors.

       Cloudflare’s answer contains a Prayer for Relief which duplicates the Relief sought in the

Counterclaims. Both pleadings seek: i) the entering of judgment in their favor, ii) an adjudication

that Clouldflare did not infringe and is not liable for monetary relief or injunctive relief beyond

the scope of section 512(j) of the DMCA, and iii) an award of its attorneys’ fees.




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            c. CLOUDFLARE IS FORCED TO AMEND ITS COUNTERCLAIMS TO
               CORRECT ITS MATERIALLY FALSE STATEMENTS.
        Cloudflare’s original Counterclaims (DE 21) argued that its Declaratory Judgment

 Counterclaims were proper because Plaintiffs solely relied on Counterfeit to send supposedly

 defective notifications of the infringement to Cloudflare by email instead of through Cloudflare’s

 abuse form available on its website (See ACC ¶¶ 87-155). Cloudflare filed the Counterclaims to

 bring to the Court’s attention the Plaintiffs “artful omission” of this information which supposedly

 proved Cloudflare’s lack of liability for contributory copyright infringement and its entitlement to

 various Safe Harbor protections under the DMCA (ACC ¶¶ 1, 87-155, 200-201).

        On May 26, 2020, Plaintiffs moved to dismiss Cloudflare’s Counterclaims (DE 28-1).

 Plaintiffs’ motion to dismiss further showed that Cloudflare’s representations regarding

 Counterfeit serving as Plaintiffs’ sole agent, and Counterfeit’s email submissions being typical of

 Plaintiff’s reports of infringement, were false.         Rather, Plaintiffs replaced Counterfeit

 Technologies with Incopro, who filed reports of infringement on behalf of Plaintiffs exclusively

 through Cloudflare’s web form.

        Cloudflare’s Amended Counterclaims tacitly admit that the original Counterclaims

 misstated the facts. For example, Cloudflare now admits that Plaintiffs replaced Counterfeit with

 Incopro, who exclusively reported infringement through Cloudflare’s abuse form. Cloudflare’s

 Amended Counterclaims do not indicate that Counterfeit reported any infringement on behalf of

 Plaintiffs after July 2017, or approximately three years ago. Nor does Cloudflare provide an

 explanation as to why such significantly misstated facts were set forth in its pleading. As a leading

 internet security and CDN company, Cloudflare should have been fully apprised with the push of

 a button as to Incopro’s role, and the quantity of infringement reported by Counterfeit through

 Cloudflare’s abuse form versus the amount of infringement reported by Counterfeit by email.


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            d. CLOUDFLARE’S AMENDED COUNTERCLAIMS.
        Cloudflare has asserted five Counterclaims all seeking a declaratory judgment that

 Cloudflare is not liable for the contributory infringement alleged in the Plaintiffs’ Complaint or is

 protected by two of the DMCA safe harbors. Cloudflare recasts as Counterclaims legal defenses

 that Cloudflare and other Internet Service Providers unsuccessfully have raised in response to

 similar claims of contributory copyright infringement.2

        The first section of Cloudflare’s Counterclaims, titled “Cloudflare and Its Services,”

 describes how Cloudflare’s security services purportedly protect Cloudflare’s subscribers against

 cyberattacks. The second section of Cloudflare’s Counterclaims titled “Cloudflare’s Technical

 Operations,” describes the operation of Cloudflare’s CDN and DNS service.

        The third section in Cloudflare’s Counterclaims is titled “Cloudflare’s Policies and

 Practices Regarding Accusations of Abuse of Cloudflare’s System and Services by Its Customers.”

 Herein, Cloudflare asserts that it has “adopted a policy for terminating, in appropriate

 circumstances, subscribers or account holders who are repeat infringers” (ACC ¶73).




 2
   Cloudflare and other Internet Service Providers (“ISPs”) unsuccessfully have sought to dismiss
 similar claims of contributory copyright infringement by raising “wrong” arguments about the
 standards for showing contributory copyright infringement, or their entitlement to DMCA safe
 harbor protections. Mon Cheri Bridals, LLC v. Cloudflare, Inc., 2019 U.S. Dist. LEXIS 121851
 (N.D.Cal. July 11, 2019)(denying Cloudflare’s motion to dismiss a dress manufacturer’s
 contributory copyright infringement claim based upon erroneous articulations of the standards for
 demonstrating contributory infringement); ALS Scan, Inc. v. Cloudflare, Inc., et al., Case No. CV-
 16-5051 (C.D.Cal. Oct. 24, 2016)(denying Cloudflare’s motion to dismiss the complaint because
 the plaintiff had “sufficiently alleged contributory liability against Cloudflare pursuant to a
 material contribution theory”); BMG Rights Mgmt (US) LLC v. Cox Communs., Inc., 881 F.3d
 293 (4th Cir. 2018)(upholding a finding that an internet service provider, which equated a “repeat
 infringer” with an “adjudicated infringer,” was not entitled to the DMCA defense); UMG
 Recordings, Inc. v. Grande Communications Networks, LLC, 384 F. Supp. 3d 743 (W.D.Tex. Mar.
 15, 2019)(holding that i) the assertion that a cause of action for material contribution to copyright
 infringement is not recognized in the law is misplaced and ii) that the ISP was not entitled to the
 DMCA safe harbor under §512(a) due to its failure to respond to complaints of infringement).
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        The fourth section in Cloudflare’s Amended Counterclaims was inserted to correct the false

 statements contained in Cloudflare’s original Counterclaims about Counterfeit serving as

 Plaintiffs’ sole agent to report the infringement identified in Plaintiffs’ complaint.

        In the fifth, sixth and seventh sections of the Counterclaims, Cloudflare makes various

 assertions about the Plaintiffs’ businesses, the Doe Defendants, and the purported lack of harms to

 Plaintiffs from the infringement, mostly based upon information and belief.

        The First Cause of Action in the Counterclaims, titled “Declaration of Non-Infringement

 by Cloudflare,” seeks a “declaration that it has not infringed upon any of the Plaintiffs’ copyright

 rights” (ACC ¶267). Herein, Cloudflare makes various assertions as to why Plaintiffs cannot

 establish the elements of a claim of contributory infringement as set forth in their Complaint. For

 instance, Cloudflare alleges that “Plaintiffs do not assert or claim that Cloudflare has intentionally

 induced infringement of the Plaintiffs’ works,” “by the time of these Counterclaims and Answer

 Plaintiffs had not provided Cloudflare with any court decisions finding infringement by Cloudflare

 customers” and that “Plaintiffs do not allege or claim that, but for Cloudflare’s services, the

 infringements by Does 1-200 would have been immaterial” (ACC ¶¶ 236, 242 & 257).

        The Second Counterclaim asks that the Court award to Cloudflare a “Declaration of No

 Proof of Direct Infringement by Does 1-200 by the Time of the Complaint.” Specifically,

 Cloudflare asserts that: i) Plaintiffs have not proved the infringement against the Does 1-200; ii)

 “the purpose of this lawsuit is to prove the infringement”; iii) the mere filing of the Complaint did

 not constitute proof of such direct infringement; and iv) Plaintiffs never provided to Cloudflare

 any adjudication establishing the direct infringement (ACC ¶¶ 268-275).

        Cloudflare’s Third, Fourth and Fifth Counterclaims (“DMCA Claims”) are designed to

 show its entitlement to the safe harbor protections of the DMCA, 17 U.S.C. §512. Specifically,



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 Section 512 provides four distinct safe harbors, or limitations on liability for damages, for four

 distinct types of technical services. Cloudflare here seeks the protection of Section 512(a), which

 pertains to the transmission or routing of data through a network, and Section 512(b), which

 pertains to the caching or temporary storage of material on a system and network. Cloudflare’s

 Fourth and Fifth Counterclaims assert that Cloudflare satisfied the technical requirements of

 Sections 512(a) and (b). Cloudflare’s Third Counterclaim alleges that none of the notifications

 sent by Plaintiffs to Cloudflare complied with Section 512(b)(2)(E)’s requirements to demand the

 removal of infringing images from Cloudflare’s cache servers.

         Before Cloudflare can avail itself of any of the safe harbors contained in §512(a) – (d), it

 must demonstrate its satisfaction of the threshold requirements contained in §512(i) to avail itself

 of any of the safe harbors. See, e.g., BMG, 881 F.3d at 301 (to avail itself of the §512(a) safe

 harbor, the defendant “must show that it meets the threshold requirement, common to all §512 safe

 harbors,” that it has complied with §512(i)(1)(a)). Section 512(i) titled “Conditions for Eligibility”

 explicitly states that “the limitations on liability established by this section shall apply to a service

 provider only if the service provider (A) has adopted and reasonably implemented, and informs

 subscribers and account holders of the service provider’s system or network of, a policy that

 provides for the termination in appropriate circumstances of subscribers and account holders of

 the service provider’s system or network who are repeat infringers.” §512(i)(1)(A). Strikingly,

 Cloudflare does not seek a declaration that Cloudflare complies with the requirements of §512(i).3


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   Cloudflare’s Amended Counterclaims set forth new allegations that Plaintiffs supposedly
 “artfully omitted” from their complaint which purportedly also warrant this Court exercising
 jurisdiction over its Counterclaims. Yet, Cloudflare’s Amended Counterclaims artfully omit
 highly material factual information pertinent to its ability to claim the DMCA safe harbor
 protections. For instance, Cloudflare fails to provide a copy of its supposedly reasonable repeat
 infringer policy, and instead proffers conclusory and self-serving allegations about the nature of
 its policy. Nor does Cloudflare address its admission made in another federal proceeding that it

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                              LEGAL ARGUMENT
     I.       THE STANDARD FOR FAILURE TO STATE A CLAIM.
           The United States Supreme Court has stated that to survive a motion to dismiss the

 complaint filed under Fed. R. Civ. P. Rule 12(b)(6), “a complaint must contain sufficient factual

 matter, accepted as true, to 'state a claim to relief that is plausible on its face.'" Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009). In determining whether a counterclaim states a claim for relief that is

 plausible on its face, “the Court accepts all well-pleaded factual allegations in the [pleading] as

 true and construes them liberally in” favor of the Counterclaim Plaintiff. Lawrence v. Chancery

 Court of Tenn., 188 F.3d 687, 691 (6th Cir. 1999).

     II.      THE COUNTERCLAIMS FAIL TO ESTABLISH A PROPER BASIS FOR
              DECLARATORY JUDGMENT JURISDICTION.
     For the reasons set forth below, this Court, under the discretion vested in it under the

 Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., should dismiss Cloudflare’s Amended

 Counterclaims. Pursuant to Sixth Circuit Court of Appeals and United States Supreme Court

 precedent, this Court should dismiss the Amended Counterclaims as redundant of the issues

 presented by the Plaintiffs’ Complaint and because the Amended Counterclaims seek to engage in

 piecemeal litigation of certain components of Cloudflare’s affirmative defenses to the complaint.

              a. Federal District Courts Have Discretion Whether to Grant Relief under the
                 Declaratory Judgment Act.
           “District courts possess discretion in determining whether and when to entertain an action

 under the Declaratory Judgment Act,” 28 U.S.C. §§ 2201 et seq., “even when the suit otherwise

 satisfies subject matter jurisdictional prerequisites.” Wilton v. Seven Falls Co., 515 U.S. 277, 282




 had never terminated a repeat infringer, no matter how egregious the misconduct, absent a court
 order. Apparently, Cloudflare avoided specifically seeking a declaration that it had complied
 with §512(i) to avoid such a claim being subjected to a motion to dismiss for failing to state a
 claim for relief under Fed. R. Civ. P. 12(b)(6).
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 (1995); Grand Trunk Western Railroad Co. v. Consolidated Rail Corp., 746 F.2d 323, 325 (6th

 Cir. 1984)(It is “well-settled that jurisdiction to grant relief under the Declaratory Judgment Act,

 28 U.S.C. §§ 2201 et seq., is discretionary.”). The Declaratory Judgment Act is “an enabling Act,

 which confers a discretion on the courts rather than an absolute right upon the litigant.” AmSouth

 Bank v. Dale, 386 F.3d 763, 784-785 (6th Cir. 2004).

            b. Contrary to Settled United States Supreme Court Precedent, Cloudflare’s
               Declaratory Judgment Counterclaims Seek To Engage In Piecemeal
               Litigation.
        The United States Supreme Court has ruled that even where a legal controversy exists, a

 party may not “carve[] out” a particular “question” within that controversy and present it to the

 Court for adjudication via declaratory relief. Calderon v. Ashmus, 523 U.S. 740, 746 (1998). The

 Supreme Court further held that if the relief sought fails to “completely resolve[] a concrete

 controversy susceptible to conclusive determination,” then the declaratory judgment action must

 be dismissed because it is not a justiciable case. Id. In MedImmune, Inc. v. Genenetech, the United

 States Supreme Court confirmed that a “litigant may not use a declaratory-judgment action to

 obtain piecemeal adjudication of defenses that would not finally and conclusively resolve the

 underlying controversy.” MedImmune, 549 U.S. 118, n. 7 (2007).

        Subsequent to the Supreme Court’s clear pronouncements in Calderon and MedImmune,

 federal courts have dismissed declaratory judgment actions which seek to resolve “only particular

 issues” within a case, without settling “the entire controversy,” to avoid “promot[ing] the type of

 piecemeal litigation consistently rejected by the federal courts.” Gibson v. Liberty Mut. Group,

 Inc., 778 F. Supp.2d 75, 80 (D.D.C. 2011)(declining to hear a declaratory judgment action seeking

 a ruling on the interpretation of a term of the contract because the declaratory relief would not

 resolve the breach of contract case); Harford Mut. Ins. Co. v. New Ledroit Park Bldg. Co., LLC,

 313 F.Supp.3d 40, 47 (D.D.C. 2018)(declining to hear declaratory judgment action seeking a

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 declaration as to the reasonable amount of attorneys’ fees owed because the declaratory relief

 would not resolve fully the claim for a breach of the duty to defend); Younglove Constr., LLC v.

 Psd Dev., LLC, 2010 U.S. Dist. LEXIS 92334 (N.D. Ohio Sep. 3, 2010)(holding that MedImmune

 constituted a complete bar to consideration of the plaintiff’s claim seeking a declaratory judgment

 on one of the defendant’s affirmative defenses/counterclaim to the complaint, without balancing

 any other factors relating to efficiency).

        In Emerman v. Fin. Commodity Invs., LLC, 2015 U.S. Dist. Lexis 77087 (N.D. Ohio June

 15, 2015), the court dismissed a counterclaim seeking a declaration that the defendants did not

 make any misrepresentations. Emerman dismissed the counterclaim because: i) resolution of the

 declaratory judgment action would not settle the entire controversy; ii) the declaratory judgment

 action would not be “useful in clarifying the legal relations in issue” because the same issue will

 be resolved in the context of the plaintiff’s complaint; and iii) “there is an alternative remedy that

 may more effectively resolve this issue: allowing the parties to address [the fraud claim] through

 the normal course of litigation; i.e., discovery and motion practice regarding Plaintiffs’ claims and

 Defendants’ defenses.” Id.; U.S. ex rel. Doe v. Jan-Care Amb. Serv., Tri-State Div., 187 F.Supp.

 786, 796 (E.D.Ky. May 11, 2016)(“the better alternative remedy is to adjudicate the plaintiff’s

 seven other claims” instead of the defendant’s claim for declaratory judgment).

        Cloudflare’s Amended Counterclaims directly contravene the United States Supreme

 Court’s prohibition on using a “declaratory judgment action to obtain piecemeal adjudication of

 defenses that would not finally and conclusively resolve the litigation.” MedImmune, Inc. v.

 Genenetech, 549 U.S. 118, n. 7 (2007).         Strikingly, Cloudflare does not expressly seek a

 declaration that it complied with §512(i)’s threshold requirement to be eligible for any of the

 DMCA Safe Harbor defenses.          Thus, the adjudication of Cloudflare’s Third through Fifth



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 Amended Counterclaims will not even fully resolve the issue of Cloudflare’s protection against a

 damages award under the DMCA.4 Instead, these last three Counterclaims only contain sufficient

 allegations to establish certain components of the DMCA safe harbor under §512.

         Moreover, because the Amended Counterclaims, by their express terms, are asserted to

 “establish facts” on “key issues” they are not tailored to completely resolving the “legal rights or

 obligations” of the parties. Harford Mut., 313 F. Supp.3d 40, 47 (under Calderon, declining to

 resolve a narrow factual issue carved out from a broader dispute, and stating that the court would

 reach the same conclusion if the issue was characterized as a legal one). Under this analysis,

 Cloudflare’s Second and Third Counterclaims seeking declarations regarding the validity of the

 notifications sent, and the quality of proof of infringement at the time of the initial filing, disregard

 well-settled United Supreme Court precedent.

             c. Declaratory Relief Is Not Proper to Adjudicate Past Conduct.
         The purpose of a declaratory judgment action is to create “means by which rights and

 obligations may be adjudicated in cases involving an actual controversy that has not reached the

 stage at which either party may seek a coercive remedy, or in which the party entitled to such a

 remedy fails to sue for it.” United States v. Doherty, 786 F.2d 491, 498 (2d Cir. 1986). A

 declaratory judgment claim is not properly interposed to adjudicate past conduct. Corliss v.

 O’Brien, 200 Fed. Appx. 80, 84 (3d Cir. 2006); Kanitz v. White, 2005 U.S. Dist. LEXIS 59709

 (E.D. Mich. May 4, 2005)(dismissing declaratory judgment action seeking to address wrongful

 actions that happened in the past); Emerman, 2015 U.S. Dist. LEXIS 77087 (declaratory judgment


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   §512 only provides a safe harbor insulating the service provider from liability for monetary
 relief. Even if Cloudflare ultimately demonstrates its entitlement to the DMCA Safe Harbors
 because of its maintenance of a reasonable repeat infringer policy under §512(i), Plaintiffs could
 still obtain extensive injunctive relief against Cloudflare. Thus, even a finding of Cloudflare’s
 entitlement to the DMCA defenses will not resolve or end the action against Cloudflare or the
 other defendants.
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 is improper where there is no ongoing contract between the parties); Goad v. Lewis, 2014 U.S.

 Dist. LEXIS 153773(M.D. Tenn. Oct. 30, 2014)( where the "purported injury is already complete,"

 this factor has been found to weigh heavily against the court exercising jurisdiction).

        Cloudflare’s Counterclaims primarily are still being interposed to address Counterfeit’s

 purportedly flawed notices of infringement. Significantly, the exhibits attached to the Amended

 Counterclaims do not indicate that Counterfeit submitted a notification of infringement after July

 2017. Cloudflare does not allege that Plaintiffs still retain Counterfeit, or that Cloudflare has

 received a notification of infringement via email from Plaintiffs in the last several years.

 Accordingly, Cloudflare’s counterclaims should be dismissed because they seek to adjudicate

 Counterfeit’s past conduct which ceased several years ago.5

            d. Pursuant to Governing Sixth Circuit Precedent, Counterclaims Seeking a
               Declaration of No Liability For the Underlying Allegations of Copyright
               Infringement Should Be Dismissed.
        In Grand Trunk, 746 F. 2d 323, 326, the Sixth Circuit identified five factors for evaluating

 whether to assert jurisdiction over a declaratory judgment action: “whether the declaratory


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   Cloudflare and other Internet Service Providers have not had much success in blaming the DMCA
 agents as a defense to contributory copyright infringement. For example, in ALS v. Cloudflare,
 the Central District of California Court held, when denying Cloudflare’s motion for summary
 judgment, that the DMCA agent’s reporting of infringement to Cloudflare there by email raised a
 triable issue of fact as to Cloudflare’s knowledge. Mon Cheri held that “Cloudflare's challenge to
 the sufficiency of the notices under 17 U.S.C. section 512 is misplaced. Section 512 limits
 available relief based on certain safe harbors. Cloudflare has not shown that its conduct should be
 considered under one safe harbor rather than under another safe harbor (and thus has not shown
 that the alleged notice would need to be formatted in one way rather than another). In any
 event, this issue is neither dispositive to the action nor appropriate for resolution at this stage of
 the case.” Mon Cheri Bridals, LLC v. Cloudflare, Inc., 2019 U.S. Dist. LEXIS 121851. In BMG,
 the 4th Circuit affirmed the denial of the DMCA safe harbor under §512(a) to a service provider
 that blacklisted the DMCA agent RightsCorp because of its sending of extortionate settlement
 notices to customers. 881 F.3d 293, 299 (4th Cir. 2018); UMG Recordings, Inc. v. Grande
 Communications Networks, LLC, 384 F. Supp. 3d 743 (W.D.Tex. Mar. 15, 2019)(holding that the
 ISP was not entitled to the DMCA safe harbor under §512(a) due to its failure to respond to
 objectionable complaints of infringement sent by “RightsCorp”).


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 judgment (1) would settle the controversy; (2) would serve a useful purpose in clarifying the legal

 relations at issue; (3) is being used merely for “procedural fencing” or to “provide an arena for a

 race to res judicata”; (4) would increase friction between state and federal courts and improperly

 encroach on state jurisdiction; and (5) whether there is a more effective, alternative remedy.”

 Malibu Media, LLC v. Ricupero, 705 F. App’x 402, 406-407 (6th Cir. 2017)(affirming the

 dismissal of a counterclaim seeking a declaration of non-infringement of plaintiff’s copyright

 where the resolution of the plaintiff’s infringement claim would render the counterclaim moot).

        When confronted with counterclaims seeking a declaration of no infringement which have

 been interposed in response to a complaint of infringement, the Sixth Circuit has “evaluated

 whether such a ‘useful purpose’ exists by looking specifically at the issue of redundancy and may

 appropriately do so without relying on the [other] Grand Trunk factors.” Malibu Media, LLC v.

 Ricupero, 705 F. App’x 402, 406-407, citing to, Fed. Deposit Ins. Corp. v. Project Dev. Corp.,

 819 F.2d 289 (6th Cir. May 27, 1987)(unpublished table decision)(upholding the denial of a motion

 to add a counterclaim because “when a counterclaim merely restates the issue as a “mirror image”

 to the complaint, the counterclaim serves no purpose”).6

        The “applicable factors,” with respect to a counterclaim seeking a declaration of non-

 infringement, “all counsel against the exercise of jurisdiction over the counterclaims for

 declaratory judgment.” Varsity Brands, Inc. v. Star Athletica, LLC, 2017 U.S. Dist. LEXIS 126716

 (W.D. Tenn. 2017)(dismissing counterclaims seeking a declaratory judgment on various grounds

 relating to the plaintiff’s affirmative copyright infringement claims). Courts find to be dispositive



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   As set forth above, dismissal is required under MedImmune, without consideration of any of the
 other Grand Trunk factors, if the declaratory judgment claim will not fully settle the case.
 Younglove, 2010 U.S. Dist. LEXIS 92334. Moreover, where the counterclaim for declaratory
 relief does not seek to fully resolve the controversy, then the first, second and fifth Grand Trunk
 factors all weigh heavily in support of dismissal. Id.; Emerman, 2015 U.S. Dist. Lexis 77087.
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 the application of the second factor – i.e., “whether the declaratory judgment action would serve a

 useful purpose in clarifying the legal relations at issue.” Id. This is true because “[D]eclaratory

 judgments do not serve a useful purpose where there is a pending coercive action, filed by the

 natural plaintiff, which encompasses all of the same issues as the declaratory judgment action.”

 Id. Such a counterclaim is not tailored to achieve the “purpose” of the Declaratory Judgment Act

 which “is to relieve potential defendants from the threat of impending litigation.” Internet

 Transaction Solutions, Inc. v. Intel Corp., 2006 U.S. Dist. LEXIS 29532 *4 (S.D. Ohio 2006).

        Pursuant to this precedent, courts within this Circuit consistently dismiss counterclaims

 seeking a declaratory judgment of non-infringement which are “redundant, mirror images” of the

 plaintiff’s claims of infringement. Pearson Educ., Inc. v. C&N Logistics, Inc., 2018 U.S. Dist.

 LEXIS 209649 *10 (M.D. Tenn. Dec. 12, 2018)(dismissing counterclaims seeking a declaration

 that the defendant is not infringing as redundant of the plaintiff’s copyright infringement claim);

 Mawdsley v. Kirkland’s, Inc., 2013 U.S. Dist. LEXIS 152262 (M.D. Tenn. Oct. 23,

 2013)(dismissing defendant’s counterclaim seeking a declaratory judgment for non-infringement

 because it was a mirror of plaintiff’s claim for copyright infringement).

        Here, Cloudflare’s five total Counterclaims must be dismissed as redundant of the

 Complaint as both involve precisely the same factual and legal issues. Malibu, 705 F. App’x 402,

 406-407. Both the Counterclaims and Complaint address the same topics such as: the technical

 operation of Cloudflare’s CDN and DNS services (CMP ¶¶52-205; ACC ¶¶ 22-42); Plaintiffs’

 businesses (CMP ¶¶28-45; ACC ¶¶156-179); Cloudflare’s policies for responding to complaints

 of infringement (CMP ¶¶107-115; ACC ¶¶43-86); the infringement being perpetrated upon

 Plaintiffs by the Infringing Website Defendants (CMP ¶¶46-51; ACC ¶¶180-202); and the

 Plaintiffs’ reports of infringement to Cloudflare (CMP ¶¶105-116 & Exhibits 3-5; ACC ¶¶87-155).



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        The Counterclaims and the Complaint present precisely the same legal issues as well. For

 example, Cloudflare’s third affirmative defense that Cloudflare is entitled to the DMCA safe

 harbors mirrors Cloudflare’s third through fifth Counterclaims seeking to establish its entitlement

 to the same DMCA safe harbors. Additionally, Cloudflare’s first two Counterclaims redundantly

 seek to establish its lack of liability for the Plaintiffs’ infringement claims. Thus, these first two

 counterclaims will be rendered “moot” by a finding of liability, or the lack thereof on Plaintiff’s

 infringement claim, and should accordingly be dismissed. Id. Also, Cloudflare’s Answer and

 Counterclaims seek adjudications that Cloudflare did not infringe and is entitled to the DMCA

 safe harbors and an award of attorneys’ fees.

        Cloudflare’s demand for an award of its attorneys’ fees as part of its demand for relief in

 its Counterclaims does not transform the Counterclaims into serving a “useful purpose.” Rather,

 the “fee-shifting provision of the Copyright Act, 17 U.S.C. §505, awards attorney’s fees to the

 prevailing party in a copyright infringement action without regard to whether the defendant has

 asserted a counterclaim.” Malibu Media, 705 F. App’x 402, 407; SONY/ATV Music Publ’g LLC

 v. D.J. Miller Music Distribs., 2011 U.S. Dist. LEXIS 116155 (M.D. Tenn. Oct. 7,

 2011)(dismissing counterclaim seeking a declaration of non-infringement based on a similar

 rationale). Indeed, this demand for attorneys’ fees is redundant of the attorney fee demand

 contained in Cloudflare’s answer.

            e. Cloudflare’s Amendments Fail to Save Its Counterclaims From Dismissal.
        Cloudflare’s amendments to the Counterclaims powerfully confirm the basis for their

 dismissal. In the first paragraph of the Amended Counterclaims, Counterfeit admits that it has

 refiled its Counterclaims to “amplify the factual record at the pleading stage and identify key legal

 barriers to Plaintiffs’ claims.” As set forth above, the resolution of factual issues, and the



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 piecemeal and redundant litigation of legal issues presented by the Plaintiffs’ affirmative

 complaint, are not the proper subjects of declaratory relief.

        Moreover, Cloudflare’s inflammatory rhetoric concerning Plaintiffs’ alleged “artful

 omission” of information pertaining to Cloudflare’s affirmative defenses flouts this very Court’s

 instruction that “Plaintiffs have no duty to plead facts negating an affirmative defense.” Universal

 Coin & Bullion, Ltd. v. FedEx Corp., 2015 U.S. Dist. LEXIS 181364 *14 (W.D. Tenn. Jan. 14,

 2015)(J. Mays). Plaintiffs filed side-by-side copies of the copyrighted works, and the infringing

 uses of those images on the infringing websites, to satisfy its burden in its complaint of identifying

 the copyrighted works at issue and to show that the infringing images were strikingly similar if not

 exact copies of the copyrighted images at issue. Cloudflare’s complaints that Plaintiffs did not

 identify in its lawsuit the agents uploading the information into its database constitutes an

 unacceptable effort to shift blame away from Cloudflare’s failure to investigate its records before

 filing factually false counterclaims.

        Finally, Cloudflare could have accomplished its purported goal of amplifying the record at

 the pleadings stage through including the relevant information in its answer and by not filing

 threadbare recitals of the elements of its affirmative defenses. Cloudflare instead re-filed these

 highly flawed Counterclaims for the improper purpose of trying to gain a tactical advantage

 through the piecemeal litigation of certain components of Plaintiffs’ affirmative case and

 Cloudflare’s defenses thereto. Cloudflare’s tactics are indefensible under governing United States

 Supreme Court and Sixth Circuit Court of Appeals precedent.

                                           CONCLUSION

        For the above stated reasons, Plaintiffs’ motion to dismiss the Amended Counterclaims

 should be granted, and Plaintiffs afforded all additional relief that is proper.



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 DATED: July 14, 2020

                                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 14, 2020, a true and correct copy of the foregoing was filed
 via the Court’s CM/ECF system. Notice of this filing will be sent by operation of the Court’s
 electronic filing system to all counsel of record.


                                                     s/ Russell Bogart
                                                     Russell Bogart




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